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     FILED & JUDGMENT ENTERED
              Steven T. Salata



             Dec 04 2012


      Clerk, U.S. Bankruptcy Court
     Western District of North Carolina
                                                                      _____________________________
                                                                                Laura T. Beyer
                                                                        United States Bankruptcy Judge



                           IN THE UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION

IN THE MATTER OF:                                  )
                                                   )         CASE NO. 11-40506
SCOTTO RESTAURANT GROUP, LLC                       )         CHAPTER 11
                                                   )
                                                   )
                                                   )
DEBTOR.                                            )


          ORDER OF CONFIRMATION FOR DEBTOR’S CHAPTER 11 PLAN



       THIS CAUSE coming on to be heard and being heard in front of the undersigned U.S.
Bankruptcy Judge for the Western District of North Carolina upon Debtor Scotto Restaurant
Group, LLC’s Confirmation of Third Amended Chapter 11 Plan and appearing at the hearing
was Bryan W. Stone, counsel for the Debtor, James H. Henderson (“Henderson”), an interested
party, Angela R. Perry, counsel for MV Epicentre, and Chip Ford, counsel for the Unsecured
Creditors Committee (the “Committee”); and it

       APPEARING to the Court that a Disclosure Statement and Plan of Reorganization
under Chapter 11 of the Bankruptcy Code was filed by the Debtor on 01 May 2012 [docket no.
107], a First Amended Disclosure Statement and Plan of Reorganization was filed on 28
August 2012 [docket no. 147], and a Second Amended Disclosure Statement and Plan of
Reorganization was filed on 12 October 2012 [docket no. 173]. The Court entered an Order
approving the Second Amended Disclosure Statement on 12 October 2012 [docket no. 174],
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and the Second Amended Disclosure Statement and Plan of Reorganization was transmitted to
creditors and equity security holders; and it

         APPEARING to the Court that a Third Amended Plan of Reorganization (the “Third
Amended Plan”) was filed on 21 November 2012 [docket no. 192]; and it

         APPEARING to the Court that objections were made to the Third Amended Plan by
the Committee and Henderson, the latter objection being withdrawn at the confirmation
hearing. Further, of the two (2) voting classes, CIT Small Business Lending Corporation, the
Class 1 claimant, accepted the Third Amended Plan by non-vote, and Class 3 (general
unsecured creditors) voted to reject the Third Amended Plan; and it

         APPEARING to the Court that a Fourth Amended Plan of Reorganization (the “Plan”)
was filed on 30 November 2012 [docket no. 198]; and it

         APPEARING to the Court after notice and a hearing that the requirements for
confirmation under 11 U.S.C. §1129(a) have been satisfied, save for 11 U.S.C. §1129(a)(8), and
that the Plan should be confirmed pursuant to 11 U.S.C. §1129(b) over the objection of the
Committee and the rejection by the Class 3 claimants; and it

         APPEARING to the Court that the Debtor and the Plan, which is attached hereto, have
complied with all other applicable provisions of Chapter 11 of the U.S. Bankruptcy Code and
the applicable Federal Rules of Bankruptcy Procedure, and that such was proffered in good
faith; and it

         APPEARING that the amendments contained in the Plan do not adversely change the
treatment of the claims of any creditor or the interest of any equity security holder and
therefore, in accordance with the Bankruptcy Rule 3019, all creditors and equity holders who
accepted the Third Amended Plan are deemed to accept the amendments set forth in the Plan;

         THEREFORE, based on the foregoing findings, this Honorable Court hereby decrees
that it is,

         ORDERED that the Debtor’s Chapter 11 Plan originally filed on 1 May 2012, and
finally amended on 30 November 2012, is approved in its final form identified as the Fourth
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Amended Disclosure Statement and Plan of Reorganization filed on November 30, 2012
[docket no. 198]; and it is

       ORDERED that the Discharge provisions contained in the Plan are hereby approved in
their entirety as to the Debtor, successors and assigns, and this Order shall act as a permanent
injunction from the Effective Date as to any and all attempts to commence or continue any
action or process to collect, recover, offset or recoup any monies, rights or property stemming
from a prepetition claim against this Debtor, to the extent Debtor provides payment of all
allowed claims that could be asserted against the Debtor’s Estate and except as provided in the
Plan or in 11 U.S.C. §1141(d); and it is

       ORDERED that the Debtor shall continue to file all applicable reports to the Court and
pay all applicable fees due and payable under 28 U.S.C. §1930 to the Court until the closing of
the Chapter 11. Upon substantial consummation of the Plan, as defined by 11 U.S.C. §1101(2),
the Debtor shall file a final report, in a format prescribed by the Bankruptcy Administrator,
reflecting the payments made for all costs of administration and each class of creditors, and a
motion for entry of Final Decree pursuant to F.R.B.P. Rule 3022; and it is

       ORDERED that pursuant to the Plan and in accordance with 11 U.S.C. §1141, on the
effective date of the Plan all property of the Debtor shall vest in the Reorganized Debtor and
shall be free of all liens, claims and encumbrances, except for the lien of CIT Small Business
Lending Corporation under its Class 1 claim; and

       IT IS SO ORDERED.


                                                   United States Bankruptcy Court
This Order has been signed
electronically and the Judge’s
signature and Court’s seal appear
at the top of the page.
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